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 7
   Attorneys for Counter-Defendant
 8 Tauler Smith LLP
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10
                          UNITED STATES DISTRICT COURT
11
                       SOUTHERN DISTRICT OF CALIFORNIA
12
13   IN RE OUTLAW LABORATORIES,           Case No.: 18-cv-840-GPC-BGS
     LP LITIGATION
14                                        COUNTER-DEFENDANT TAULER
15                                        SMITH LLP’S NOTICE OF INTENT TO
                                          FILE OPPOSITION TO THE OUTLAW
16                                        DEFENDANTS’ EX PARTE MOTION
17                                        TO STAY PRETRIAL DEADLINES
                                          (ECF # 319)
18
19
                                          Judge:     Hon. Gonzalo P. Curiel
20                                        Courtroom: Courtroom 2D
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       TAULER SMITH LLP’S NOTICE OF INTENT TO FILE OPPOSITION TO THE OUTLAW
           DEFENDANTS’ EX PARTE TO STAY PRETRIAL DEADLINES (ECF # 319)
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 1        TO    THE    HONORABLE          COURT,     ALL     PARTIES,      AND    THEIR
 2 ATTORNEYS OF RECORD:
 3        PLEASE TAKE NOTICE THAT pursuant to the Honorable Gonzalo P. Curiel’s
 4 Civil Pretrial & Trial Procedures, Counter-Defendant Tauler Smith LLP (“Tauler Smith”)
 5 intends to file an opposition to Outlaw Laboratory, L.P.’s, Michael Wear’s, and Shawn
 6 Lynch’s Ex Parte Motion to Stay Pretrial Deadlines (ECF # 319).
 7        Tauler Smith will file its opposition by 10 a.m. on Monday, November 2, 2020.
 8
     DATED: October 29, 2020             Respectfully submitted,
 9
10                                       KJC LAW GROUP, A.P.C.

11                                By:    /s/ Kevin J. Cole
                                         Attorneys for Counter-Defendant
12                                       Tauler Smith LLP
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        TAULER SMITH LLP’S NOTICE OF INTENT TO FILE OPPOSITION TO THE OUTLAW
            DEFENDANTS’ EX PARTE TO STAY PRETRIAL DEADLINES (ECF # 319)
 Case 3:18-cv-00840-GPC-BGS Document 320 Filed 10/29/20 PageID.7916 Page 3 of 3



 1                              CERTIFICATE OF SERVICE
 2        I hereby certify that I electronically filed, or caused to be filed, the foregoing with
 3 the Clerk of the Court for the United States District Court for the Southern District of
 4 California by using the CM/ECF system on October 29, 2020. I further certify that all
 5 participants in the case are registered CM/ECF users and that service will be accomplished
 6 by the CM/ECF system.
 7        I certify under penalty of perjury that the foregoing is true and correct. Executed on
 8 October 29, 2020.
 9                                         KJC LAW GROUP, A.P.C.

10                                  By:    /s/ Kevin J. Cole
                                           Attorneys for Counter-Defendant
11                                         Tauler Smith LLP
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        TAULER SMITH LLP’S NOTICE OF INTENT TO FILE OPPOSITION TO THE OUTLAW
            DEFENDANTS’ EX PARTE TO STAY PRETRIAL DEADLINES (ECF # 319)
